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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )          4:07CR3034
                                         )
                   Plaintiff,            )          MEMORANDUM
      vs.                                )          AND ORDER
                                         )
JOSE ANAYA-ZEPEDA and                    )
MIGUEL ANGEL AYALA ARIAS,                )
                                         )
                   Defendants.           )

       This matter is before the court on a report and recommendation by Magistrate
Judge Piester (filing 38), recommending denial of Defendants’ motions to suppress
(filings 23 and 25). No statement of objections to the report and recommendation
has been filed pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1).

       I have conducted a de novo review of the record. I find that inasmuch as the
Magistrate Judge has fully, carefully, and correctly found the facts and applied the
law, the report and recommendation should be adopted and Defendants’ motions
to suppress should be denied in all respects.

      IT IS ORDERED that:

      1.    the Magistrate Judge’s report and recommendation (filing 38) is
            adopted; and

      2.    Defendants’ motions to suppress (filings 23 and 25) are denied in all
            respects.

      July 23, 2007.                         BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
